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                                                                                       Neu, Jersey as a Civil Trial Attorney
                               *REPLY TO NJ OFFICE
 March 14, 2018

  Via ECF
  Hon. William J. Martini, U.S.D.J.
  United States District Court
  District of New Jersey
  1 Federal Square Newark, New Jersey 07102

                        Re: Cioffi v. Borough of Englewood Cliffs, et al.
                            Civil Action No. 2:16-cv-04536-WJM-MF

  Judge Martini:

         This office along with the Galantucci, Patuto, DeVencentes, Potter & Doyle, LLC law firm
  represents the plaintiff Chief Michael Cioffi ("Plaintiff' or "Chief Cioffi") in connection with the
  above-referenced matter.

         The purpose of this letter is to request an extension of time to file opposition to the pending
 motions to dismiss for one cycle (two weeks). Specifically the following motions are pending: three
 (3) Motions to Dismiss and one (1) Motion on the Pleadings scheduled for April 2,2018 (Docket ft's
 47, 48, 49 and 55). As per the dictates of the Rule 6.1(a)(3), Plaintiff notes that it has previously been
 given its automatic extension under Rule 6.1(b). Given the sheer number of motions and the intricate
 issues involved in each, Plaintiff respectfully requests an additional cycle under the same Rule.

         Plaintiff has obtained consent from counsel for Defendants Kranjac and McMorrow for the
 instant request. Plaintiff's counsel spoke with Philip Portantino, Esq. representing the Borough of
 Englewood Cliffs, Nunzio Consalvo and Mark Park. Mr. Portantino indicated that while he did not
 anticipate an issue, he needed to confirm he could grant the request. As of this writing, we have not
 heard back from Mr. Portantino.

        As such, Plaintiff respectfully requests a one cycle (two week) extension be granted under
 Rule 6.1(b). This extension would make the motions returnable April 16, 2018, with opposition due
 on April 2,2018.
                                                                   Respectfully Yours
                                                                   s/Richard Malagiere/
                                                                   Richard Malagiere
 Cc: Counsel of record via ECF
